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Arnold E. Reiter, Esq. (6121983)
Reiter Law Firm
135 Chestnut Ridge Road, Suite 200
Montvale, New Jersey 07645
(845) 357-2215
Attorney for Plaintiff
Stanley Markowitz

STANLEY MARKOWITZ,                                         SUPERIOR COURT OF NEW JERSEY

                                      Plaintiff,           LAW DIVISION: BERGEN COUNTY

                                                           Docket No.:
VS,
                                                           Civil Action

COSTCO WHOLESALE CORPORATION,

                                                            COMPLAINT

                                      Defendant,


Plaintiff, STANLEY MARKOWITZ, through his attorney, Arnold E. Reiter, Esq. of Reiter Law

Firm, complaining of Defendant, COSTCO WHOLESALE CORPORATION, respectfully

alleges:


1.         At all times herein mentioned Defendant was and still is engaged in conducting and

operating a wholesale store at 2 Teterboro Landing Drive, Teterboro, New Jersey 07608,


2.         At all times herein mentioned the Plaintiff, STANLEY MARKOWITZ, was a patron of

the Defendant at the time of Defendant's alleged negligence and Plaintiff's injury.


3.         On or about December 3, 2020, Plaintiff, STANLEY MARKOWITZ, entered and

utilized the services of the Defendant.




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4.     On that same date—December 3, 2020, Plaintiff was caused to be hurt and injured by

reason of the negligence of the Defendant, its agents, servants, and employees, as hereinafter

alleged.


5.     The accident and the resulting injuries to the Plaintiff, STANLEY MARKOWITZ, were

caused by reason of the negligence of the Defendant.


6.     Defendant, its agents, servants, or employees, were negligent in that they caused,

allowed, and permitted their premises to become and remain in a defective, dangerous, improper,

and negligent condition.


7.         Defendant failed to take reasonable care or any precaution for the safety of the Plaintiff

and other patrons at the store in that Defendant caused, allowed, and permitted certain stanchions

of said establishment for the use as a border or boundary for the shopping carts used at Costco to

become and remain in a defective, dangerous, and otherwise negligent condition so that as

Plaintiff was lawfully in and upon the negligent condition caused the Plaintiff to slip and fall,

sustaining the injuries hereinafter alleged; and that Defendant was otherwise negligent in the

circumstances.


8.         By reason of the premises, Plaintiff, STANLEY MARKOWITZ, was severely and

seriously injured. Upon information and belief, as a result of his slip, Plaintiff fell, hurt his knee

and broke his hand immediately thereafter.


7.         Upon information and belief, Plaintiff suffered and will continue to suffer pain and

injury; and, upon information and belief, will be permanently injured; that he has been compelled


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to expend sums of money and incur liability for medical care and treatment; that he has

undergone orthopedic treatments including the placement of a splint and a cast on his left hand.

Upon information and belief, Plaintiff will be required to commit to treatment in the future at

significant cost, pain and suffering,


8.     That by reason of the foregoing, the Plaintiff, STANLEY MARKOWITZ, has suffered

damages in an amount to be determined upon the trial of this action.


9.     The amount of damages sought in this action exceeds the jurisdictional limits of all tower

courts which would otherwise have jurisdiction.


       WHEREFORE, Plaintiff demands judgment against Defendant in an amount to be

determined upon the trial of this action, but in a sum not less than one million ($1,000,000)

dollars together with the costs and disbursements of this action.




Dated: April 20, 2021                                               submitted,



                                                                     r, sq.
                                                             R LAW FIRM
                                                      Attorneys for Plaintiff
                                                      135 Chestnut Ridge Road, Suite #200
                                                      Montvale, New Jersey 07645




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                                 DEMAND FOR TRIAL BY JURY

       PLEASE TAKE NOTICE, that P!aintiff demands a trial of the issues by a jury.


                        DEMAND FOR DTSCOVERY OF INSURANCE COVERAGE

        Pursuant to R. 4: 1O-2(b), demand is made upon each defendant that it disclose to
plaintiffs counsel whether or not there are any insurance agreements or policies under which any
person or firm carrying on an insurance business may be liable to satisfy or all of a judgment
which may be entered in this action or indemnify or reimburse such defendant for payments to
satisfy any judgment rendered herein and, provide plaintiffs counsel with those insurance
agreements or policies, including, but not limited to all and any declaration sheets. This demand
shall include not only primary coverage, but also all and any excess, catastrophe and umbrella
policies.


                        CERT1FICATION OF NO OTHER ACTIONS

        Pursuant to Rule 4: 5- 1, it is hereby stated that the matter in controversy is not the subj ect
of any other action pending in any other court or of a pending arbitration proceeding to the best
of my knowledge and belief. Atso, to the best of my knowledge and betief, no other action or
arbitration proceeding is contemplated. Further, other than the parties set forth in this pleading,
I know ofno other parties that should be joined in the above action. In addition, I recognize the
continuing obligation of each party to file and serve on all parties and the court an amended
certification if there is a change in the facts stated i        original certification, I further certify
that this Answer and Counterclaim has been fi1e             s s he time frame as required by law, as
extended by consent ofthe parties.




Dated: April 20, 2021                   By:
                                                         Reit- sq.
                                                Atti ey for P!aintiff




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                                                         SUMMONS
Attorney(s) Arnold E. Reiter, Esq. (6121983)
                                                                                   Superior Court of
Office Address 135 Chestnut Ridge Road, Suite 200
Town, State, Zip Code Montvale, New Jersey 07645
                                                                                     New Jersey
                                                                                   Bergen         gounty
Telephone Number (845) 357-2215                                                    Law               Division
Attorney(s) for Plaintiff Stanley Markowitz                                Docket No:
STANLEY MARKO WITZ,


          Plaintiff(s)
                                                                                    CIVIL ACTION
    VS.
                                                                                      SUMMONS
COSTCO WHOLESALE CORP.,


          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153 deptyclerklawrefpdf) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiffs attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.nj courts. gov/forms/10153 deptyclerklawref.    pdf.


                                                                          Clerk of the Superior Court


DATED:       April 20, 2021

Name of Defendant to Be Served: COSTCO WHOLESALE CORPORATION

Address of Defendant to Be Served:         2 Teterboro Landing Drive, Teterboro, New Jersey 07608



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                         Civil Case Information Statement
Case Details: BERGEN I Civil Part Docket# L-002645-21

Case Caption: MARKOWITZ STANLEY VS COSTCO                         Case Type: PERSONAL INJURY
WHOLESALE COR PORATI                                              Document Type: Complaint with Jury Demand
Case Initiation Date: 04/21/2021                                  Jury Demand: YES - 6 JURORS
Attorney Name: ARNOLD E REITER                                    Is this a professional malpractice case? NO
Firm Name: REITER LAW FIRM                                        Related cases pending: NO
Address: 75 MONTEBELLO RD                                         If yes, list docket numbers:
SUFFERN NY 10901                                                  Do you anticipate adding any parties (arising out of same
Phone: 8453572215                                                 transaction or occurrence)? NO
Name of Party: PLAINTIFF Markowitz, Stanley
Name of Defendant's Primary Insurance Company                     Are sexual abuse claims alleged by: Stanley Markowitz? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



Will an interpreter be needed? NO
         If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO



I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

04/21/2021                                                                                           /s/ ARNOLD E REITER
Dated                                                                                                              Signed
